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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                                     Case No. 16-cv-61732-WPD
  SYMBOLOGY INNOVATIONS, LLC,

         Plaintiff,

  v.

  FRESHPOINT, INC.

        Defendant.
  _______________________________________/


                      FINAL ORDER OF DISMISSAL WITH PREJUDICE

         THIS CAUSE is before the Court on the parties’ Stipulation for Dismissal (the

  “Stipulation”) [DE 22], filed herein on November 8, 2016. The Court has carefully considered

  the Stipulation, and is otherwise fully advised in the premises.

         Accordingly, it is ORDERED AND ADJUDGED as follows:

         1.      The Stipulation [DE 22] is hereby APPROVED;

         2.      This action is DISMISSED WITH PREJUDICE, with each party to bear its

                 own costs and fees except as otherwise agreed;

         3.      The Clerk shall CLOSE this case and DENY any pending motions as moot.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

  this 8th day of November, 2016.
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  Copies furnished to:
  Counsel of record




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